836 F.2d 549
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Jimmy D. GIBSON, et al., Plaintiffs-Appellants,v.COLLIER COUNTY SHERIFF'S DEPARTMENT, et al., Defendants-Appellees.
    No. 87-3179.
    United States Court of Appeals, Sixth Circuit.
    Dec. 22, 1987.
    
      Before BOYCE F. MARTIN, Jr., MILBURN and ALAN E. NORRIS, Circuit Judges.
    
    ORDER
    
      1
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      2
      IT IS ORDERED that the judgment of the district court dismissing the complaint for lack of federal jurisdiction be, and it hereby is, AFFIRMED.
    
    